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                               Exhibit 67



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
                  Case 1:01-cv-12257-PBS Document 6528-68 Filed 09/22/09 Page 2 of 5
Hiramatsu, Aileen - Individual and State of Hawaii 30(b)(6) - Vol. II                                    May 2, 2008

                                                           Honolulu, HI

                                                                                                 Page 315
               IN THE CIRCUIT COURT OF THE FIRST CIRCUIT

                                     STATE OF HAWAII

          --------------------------------

          STATE OF HAWAII,                                     )

                           Plaintiff,                          )

                  v.                                           ) CIVIL NO.

          ABBOTT LABORATORIES INC.,                            ) 06-1-0720-04 EEH

          et al.,                                              ) 07-1-1639-09 EEH

                           Defendants.                         )

          --------------------------------

          STATE OF HAWAII                                      )

                           Plaintiff,                          )

                  v.                                           )

          SCHERING CORPORATION; DOE                            )

          CORPORATIONS 1-100; DOE                              )

          ENTITIES 1-100,                                      )

                           Defendants.                         )

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                                          VOLUME II

                      VIDEOTAPED 30(b)(6) DEPOSITION OF

                  THE STATE OF HAWAII by AILEEN HIRAMATSU

            and VIDEOTAPED DEPOSITION OF AILEEN HIRAMATSU




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                                                           Honolulu, HI
                                                            Page 316                                             Page 318
  1            UNITED STATES DISTRICT COURT                  1          APPEARANCES
  2         DISTRICT OF MASSACHUSETTS OF HAWAII 2
  3                                                          3 Special Deputy Attorney General for the Plaintiff:
  4    -----------------------------X                        4     RICK J. EICHOR, ESQUIRE
  5    In Re: PHARMACEUTICAL                      : MDL NO.  5     Price Okamoto Himeno & Lum
  6    INDUSTRY AVERAGE WHOLESALE : 1456                     6     Ocean View Center
  7    PRICE LITIGATION                       : CIVIL NO.    7     707 Richards Street, Suite 728
  8    -----------------------------X 01-12257-PBS           8     Honolulu, Hawaii 96813
  9    This relates to United         :                      9
 10    States of America ex rel. ;                          10 For Plaintiff State of Hawaii:
 11    Ven-a-Care of the FLorida ;                          11     MICHAEL WINGET-HERNANDEZ, ESQUIRE
 12    Keys, Inc. et al., v. Dey, :                         12     Winget-Hernandez, LLC
 13    Inc., et al., Civil Action :                         13     101 South College Street
 14    No. 05-11084-PBS, and                :               14     Dripping Springs, Texas 78763
 15    United States of America, :                          15
 16    ex rel. Ven-a-Care of the :                          16 For Plaintiff State of Hawaii:
 17    Florida Keys, Inc., et al., :                        17     CLINTON C. CARTER, ESQUIRE
 18    v. Boehringer Ingelheim            :                 18     H. CLAY BARNETT, III, ESQUIRE
 19    Corp., et al., Civil Action :                        19     Beasley, Allen, Crow, Methvin, Portis & Miles
 20    No. 07-10248-PBS.                :                   20     272 Commerce Street
 21    -----------------------------X                       21     Post Office Box 4160
 22                                                         22     Montgomery, Alabama 56105-4160
                                                            Page 317                                             Page 319
  1                VOLUME II                            1                     A P P E A R A N C E S (CONTINUED)
  2                                                     2
  3       VIDEOTAPED 30(b)(6) DEPOSITION OF             3               For Defendants Pfizer, Inc. and Pharmacia Corp.:
  4     THE STATE OF HAWAII by AILEEN HIRAMATSU         4                   SANDRA D. LYNCH, ESQUIRE
  5   and VIDEOTAPED DEPOSITION OF AILEEN HIRAMATSU 5                       Bronster Hoshibata
  6                                                     6                   1003 Bishop Street, Suite 2300
  7                                                     7                   Honolulu, Hawaii 96813
  8   Taken at the law offices of McCorriston Miller    8
  9   Mukai MacKinnon LLP, Five Waterfront Plaza, 4th   9               For Defendant Novartis Pharmaceuticals Corporation:
 10   Floor, Honolulu, Hawaii, commencing at 9:00 a.m. 10                   JACQUELINE L.S. EARLE, ESQUIRE
 11   on Friday, May 2, 2008 pursuant to Notice.       11                   Goodsill Anderson Quinn & Stifel
 12                                                    12                   1099 Alakea Street, Suite 1800
 13                                                    13                   Honolulu, Hawaii 96813
 14                                                    14
 15   REPORTED BY: LYNANN NICELY, RPR/RMR/CSR #354 15                   For Defendant AstraZeneca Pharmaceuticals LP and
 16                                                    16               AstraZeneca LP:
 17                                                    17                   KENNETH J. MANSFIELD, ESQUIRE
 18                                                    18                   McCorriston Miller Mukai MacKinnon LLP
 19                                                    19                   Five Waterfront Plaza, 4th Floor
 20                                                    20                   500 Ala Moana Boulevard
 21                                                    21                   Honolulu, Hawaii 96813
 22                                                    22

                                                                                           2 (Pages 316 to 319)
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                                                           Honolulu, HI
                                                            Page 344                                                Page 346
  1    correct in understanding that the Section 17-750-                 1      A. Yes, whatever is produced by the First
  2    8 became effective September 23, 1988?                            2   DataBank.
  3        A. Yes.                                                       3      Q. Okay. I have a few other questions.
  4        Q. And then similarly turning to Exhibit                      4   Ms. Hiramatsu, the United States, in its
  5    49, does this set forth the State of Hawaii's                     5   complaint in the federal case, and I'll start
  6    administrative rule regarding payment for drugs                   6   with the complaint against the Dey Defendants,
  7    and related supplies effective June 29, 1982?                     7   the government alleges that Dey knowingly
  8        A. Yes.                                                       8   reported falsely inflated AWPs to First DataBank
  9        Q. Now, Ms. Hiramatsu, I notice that                          9   and that they did this with the intention of
 10    neither of these versions of the administrative                  10   causing the Medicaid program to pay inflated
 11    rules in Exhibit 48 and 49, neither of them                      11   reimbursements to Dey's customers. And the
 12    define the term Estimated Acquisition Cost. And                  12   government alleges that Dey did this for the
 13    I think yesterday you testified about the current                13   purpose of increasing the sales of its drugs and
 14    version of the administrative rules and again in                 14   Dey's market shares for the drugs.
 15    that I didn't see any definitions of Estimated                   15          Now, if that were true, if the
 16    Acquisition Cost. Has it been the practice of                    16   government's allegations were true, to your
 17    DHS to set forth its definition of Estimated                     17   knowledge has the State of Hawaii ever approved
 18    Acquisition Cost as something other than the                     18   that sort of conduct?
 19    administrative rules?                                            19          MR. TOSCANO: Objection to form.
 20           MR. TOSCANO: Objection to form.                           20          THE WITNESS: Have we approved the
 21           THE WITNESS: No, we generally would                       21   conduct of the manufacturers reporting inflated
 22    have put our definitions into the rules. If we                   22   AWPs?
                                                            Page 345                                                Page 347
  1    felt it needed defining, it would have been in     1                  BY MR. HENDERSON:
  2    the rulemaking process.                            2                     Q. That's correct.
  3    BY MR. HENDERSON:                                  3                     A. No, we would never have approved of
  4        Q. I see. Okay. I'm going to turn now to       4                  such behavior.
  5    the second topic and that deals with the Hawaii    5                     Q. Okay. Has the State of Hawaii, to your
  6    Department of Human Services' use of prices        6                  knowledge, ever acquiesced in that kind of
  7    published by First DataBank or any other           7                  behavior?
  8    publisher of prices. And let me ask you in         8                     A. No, but we had no way of knowing what
  9    determining reimbursement for prescription drugs 9                    was being reported.
 10    in the noninstitutional setting, does the Hawaii  10                     Q. Okay. And if the State of Hawaii ever
 11    Department of Human Services use the prices       11                  had approved that sort of behavior, is that
 12    published by First DataBank?                      12                  something you would have known about had it
 13        A. We do.                                     13                  occurred?
 14        Q. Do you know how long Hawaii has used 14                           A. Yes.
 15    First DataBank as its source of published prices? 15                         MS. LORENZO: Objection.
 16        A. I don't know how long specifically. I      16                         MR. MOORE: I join in that objection.
 17    do know that since I had been with the division, 17                   BY MR. HENDERSON:
 18    it had been using First DataBank.                 18                     Q. Was there an answer to that?
 19        Q. When you began there?                      19                     A. Can you ask me the question again?
 20        A. Yes.                                       20                     Q. If the State of Hawaii had approved
 21        Q. Okay. And does Hawaii use the              21                  this sort of behavior, is that something you
 22    published average wholesale prices or AWPs?       22                  would have known about had it occurred?
                                                                                              9 (Pages 344 to 347)
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                                                            Page 348                                           Page 350
  1           MR. MOORE: Objection; form.                 1             alleges that the Boehringer, Ingelheim, Roxane
  2           THE WITNESS: Okay. I want to make           2             defendants knowingly reported falsely inflated
  3    sure I understand the question. If the State of    3             AWPs to First DataBank and they did this with the
  4    Hawaii had known about the manufacturers'          4             intention of causing the Medicaid program to pay
  5    misrepresentation of the AWPs, we would have --    5             inflated reimbursements to their customers, and
  6    BY MR. HENDERSON:                                  6             that these defendants did this for the purpose of
  7        Q. I'm just asking whether this is             7             increasing the sales of their drugs and for the
  8    something that you would have known about had the 8              purpose of increasing their market shares for the
  9    agency approved of this kind of conduct.           9             drugs.
 10           MR. MOORE: Objection; form.                10                    Again, to your knowledge, has the State
 11    BY MR. HENDERSON:                                 11             of Hawaii ever approved of that sort of behavior
 12        Q. Or is it outside the scope of your         12             with regard to the Boehringer, Ingelheim, Roxane
 13    knowledge?                                        13             defendants?
 14        A. I think that's probably outside the        14                    MS. LORENZO: Object to form.
 15    scope of my knowledge.                            15                    THE WITNESS: Based on my knowledge of
 16        Q. Okay. So are you suggesting that it's      16             the division, I don't believe anyone would have
 17    possible that somebody else could have approved   17             approved of reporting false information.
 18    of that sort of behavior and you would not know   18                    MR. HENDERSON: Okay. I have no
 19    about it?                                         19             further questions. Thank you very much.
 20        A. Based on what I know of the operations     20
 21    of the division and of the individuals who worked 21                    EXAMINATION
 22    there, I don't believe anybody would approve of   22             BY MR. MOORE:
                                                            Page 349                                           Page 351
  1    such behavior.                                     1                 Q. My name is Mike Moore and I represent
  2        Q. Okay. Thank you.                            2             Schering Plough and Warrick. I have a few
  3           MR. MOORE: Excuse me. Objection;            3             questions for you. Can we start with what you
  4    nonresponsive. Move to strike. Go ahead.           4             were just looking at and would you get Exhibits
  5    BY MR. HENDERSON:                                  5             46 and 47 and turn to page six of each of those
  6        Q. Well, let me try to respond to the          6             exhibits and let's compare the language. Would
  7    objection. Ms. Hiramatsu, based on your            7             you do that, would you turn to those pages,
  8    experience as an employee of the agency from 1994 8              please? Put them side by side.
  9    through 2007 and based on your experience as head 9                      All right. Just to get oriented a
 10    of the Medicaid division from 2000 to 2004, do    10             little bit, Exhibit 46 that Mr. Henderson just
 11    you have an opinion as to whether or not an       11             talked to you about, that's the November 10, 1999
 12    employee, an authorized employee of the state     12             description of Hawaii Medicaid's drug
 13    Medicaid agency would approve of the type of      13             reimbursement, correct?
 14    behavior that I just described?                   14                 A. Correct.
 15           MR. MOORE: Objection; form.                15                 Q. And Exhibit 47 is the June 7, 2001
 16           THE WITNESS: Based on my experience        16             description?
 17    with the division, I'd say there was no one there 17                 A. Yes.
 18    who would have approved of such behavior.         18                 Q. And they're different, are they not?
 19    BY MR. HENDERSON:                                 19                 A. Yes.
 20        Q. Now, with regard to the defendant          20                 Q. And let's look at some of the
 21    Boehringer, Ingelheim and Roxane, the United      21             differences. Let's start with Exhibit 46 in 1999
 22    States in its complaint against these companies   22             and let's start with single source drugs. If you
                                                                                        10 (Pages 348 to 351)
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